           Case 1:19-cr-04440-MV Document 22 Filed 01/08/20 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO
                                       __________
UNITED STATES OF AMERICA,

                        Plaintiff,

v.                                                                              No. CR 19-4440-MV

NICHOLOUS PHILLIPS,

                        Defendant.

                                      Order and Notice of Trial

        THIS MATTER is before the Court on defendant’s Unopposed Motion to Continue Trial

[19]. The Court has weighed the representations made in the motion and finds granting a

continuance to resolve these issues outweighs the public and defendant’s interest in a speedy trial

pursuant to 18 U.S.C. § 3161, for the reasons set forth in defendant’s Motion.

        Conducting a trial in the face of these facts would be contrary to the interests of justice.

Zedner v. United States 126 S. Ct. 1976 (2006). Now, therefore,

        IT IS ORDERED that the trial of this action be and hereby is continued from

January 27, 2020, to Monday, March 23, 2020, at 9:00 a.m., on a trailing docket, in the United

States Courthouse, 106 South Federal Place in Santa Fe, New Mexico, pursuant to 18 U.S.C.

§ 3161(h)(7)(A), with the following pretrial dates and deadlines. It is further ordered that the period

of time from the entry of this Order until the new trial date shall be excluded from the time

limitations set forth within 18 U.S.C. § 3161(c)(1).
            Case 1:19-cr-04440-MV Document 22 Filed 01/08/20 Page 2 of 2




 Event                                                              Date/Deadline
 Pre-Trial Motions                                                    February 1, 2020

 Joint Jury Instructions,                                              March 2, 2020
 Witness and Exhibit Lists, Voir Dire

 Motion to Continue                                                    March 2, 2020

 Objections to Witness and Exhibit Lists,                              March 6, 2020
 Objections to Voir Dire

 Motions in Limine/Response/Reply                  February 24, 2020 / March 2, 2020 / March 6, 2020

                                                     Responses and replies to Motions filed 14 days or more
                                                       before this deadline are due in accordance with the
                                                        Federal and Local Rules of Criminal Procedure.

 Call of the Calendar                                       March 6, 2020, 9:30 a.m.
 Jury Selection/ Trial                                     March 23, 2020, 9:00 a.m.

        In an effort to conserve judicial resources, the Court must be advised of all plea agreements

no later than ten (10) working days prior to trial. The plea must be entered at least five (5) days

prior to the trial date.

                                            _______________________________
                                              MARTHA VÁZQUEZ
                                              UNITED STATES DISTRICT JUDGE

Linda Z. Romero, Courtroom Deputy - (505) 992-3826
Trial Preparation guidelines: http://www.nmd.uscourts.gov/content/honorable-martha-vazquez
